       Case 8:04-cr-00219-SDM-MAP Document 138 Filed 02/28/06 Page 1 of 6 PageID 351
A 0 24513 (Rev 11/03) Sheet 1 - Judgment in a Criminal Case


                             UNITED STA TES DISTRICT COURT
                                                   hllDDLE DISTRICT OF FLORIDA
                                                         'TAhlPA DIVISION



UNITED STATES OF AhlERICA                                      JUDGMENT IN A CKIRlINAL CASE
                                                               CASE NUhlBER:      8:M-cr-219-T-?3hIAP
                                                               USA1 NUMBER:       58686-004



CHRIS hlUSZYNSU
                                                               Defendant's Attorney: Barry \\'ax, re1

THE DEFESDXXT:

X plcadcd guilty to count ONE of the Superseding Indictment.
-

TITLE X: SECTION                     NATURE OF OFFENSE                                   OFFENSE ENDED              COUNT

21 U.S.C. S S 846 and                Conspiracy to Possess with the Inrent to             August 2004               ONE
S4l(b)(l)(C)                         Distribute and to Distribute XiDhiX


        Thc dekndani is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursunnl to the
Sentencing Reform Act of 1984.

S Counts 1'\i70 and THREE are dismissed.
-
IT IS FURTHER ORDERED that the defendant shall notitjl the United States Attorney for this district within 30 days of any change
of' name. residence, or mailing address until all tines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordcrcd to pay restitution. the defendant shall ~lotiljlthe coun and United Stales Aitorncy of n l y material cli,ulgs ill economic
circun~sta~~ces.


                                                                                 Datc of Imposition of Sentence: February 27, 2006




                                                                                    S T E V E N D. R,IEKKYDAY                  I

                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: February              2006
          Case 8:04-cr-00219-SDM-MAP Document 138 Filed 02/28/06 Page 2 of 6 PageID 352
:20 245B (Rev 12/03) Slieet ? - Imprisonment
De fend an^:      CHRIS hiUSZYNSKI                                                                          Judgnlent - Pagc _2_ of 4
C3se No.:         8:O-l-cr-219-T-23hIAP



                 The defendant is hereby committed to the custody of the United Staces Bureau of Prisons to be
itnprisoncd for a total tern1 of SEVENTY-EIGHT (78) AlONTHS as to count one of the Superseding Indictment.




-
X ' The court tnakes the following recommendations to the Bureau of Prisons: (1) that thc defendant be placed in either FCI
hiiami. Florida o r FC1 Colenlan, Florida, and (2) that the defendant be allowed lo participate in the 500-Hour C o n ~ p r c h t t n s i ~ ~ e
Drug Treatmcnt Program, w~hileincarcerated.




-
S The del'rnda~ltis remanded to the custody of the United Slates hlarshal.
     The defendrtnt shall surrender to the United Stales hlarshni for this district.

           - ar - a.m./p.m. on -.
           - as notified by the United States hlarshal.
- The defendant shall surrender for service of scnrence at [he institulion designated by the Bureau of Prisons.
           - brl'ore 2 p.m. on -.
           - ;IS notiticd by the United States Marshal.
           - as notified by the Probation or Pretrial Services Ol'lice.


                                                                        RETURN

           I have executed this judgment as follows:




           Dcfendanr delivered o n                                                     to

ar                                                                           , wirh a certiiicd copy of this judgment.


                                                                                            United States Marshal

                                                                         By:
                                                                         Deputy h,larshal
        Case 8:04-cr-00219-SDM-MAP Document 138 Filed 02/28/06 Page 3 of 6 PageID 353
A 0 215B (Rev. 11103) Sllcrr 3 - Supervised Rclcase

Defendant:         CIIRIS MUSZYNSKI                                                                 Judgment - Page 3 of 6
Case No.:          X:01-cr-2 19-T-23MAP

                                                         SUPERVISED RELEASE

          Upon release from imprisonment, the dcfcndant shall be on supervised releasr: for a term of THIRTY-SIX (3G) JIOFTHS
as to count o n e of t h e Superseding Indictment.

        T h e defendant shall report to the probalion oflice in the district to which the dcfendan~is released within 72 hours of release
from the ~ u s t o d yof the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, slate. o r local crime. and shall not possess a
firearm, anlnlunition. or dcstruc~ivedevice as defined in 18 U.S.C.3 921.

X         The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unla~vl'ul use o f a
          controlled substance. Based on the probation ofticer's determination that additional dnig urinalysis is necessary, the Court
          authorizes random drug testing not to exceed 104 tests per year.

S
-         T h e defendant shall cooperate in Ihe collection of DNA as directcd by thc probation officer.

          If his judgment in~posesa f i e o r a restitution it is a condition of supervised rclcasc that the defendant pay in accordance with
          the Schedule of Paymnents sheet of this judgment.

          The dekndant shall conlply with the standard conditions h a t have been adopted by this couri as well as with any ndditional
          conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
1)        the defendant shall not leave the judicial district without the pernlission of he c o ~ ~orr tprobation officer;

2)        the defendant shall report to the probation officer and shall submit a truthfi~land colnplcte urrittm report ivithin the first five days
          of cach month;

3)        thc dcfendant shall answcr truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)        the defendant shall support his or her dcpendcnts and meet other family responsibilities:
5         the defendant shall work regularly at a lawfi~loccupation, unless excused by thc probation ofiicer for schooling, training, or other
          acceptable rcasons;

6         the defendant shall notify the probation officer at least tcn days prior to any change in residence or employnient:
7         the defendant shall refrain froni excessive use of alcohol and shall not purchase, posscss, use. distribute, or administer any
          controlled substance or any paraphernalia rclated to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places whcrc controlled substances are illegally sold, uscd, distributed, or administcrcd:

91        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any pcrson conv~ctcdo f
          a felony, unless granted permission to do so by the probation officer;

10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband obscrved in plain view of the probation officcr:

1 1)      the defendant shall notify the probation officer within seventy-hvo hours of being arrcsted or questioned by a law cnforcen~ent
          officer:

12)       the defendant shall nor enter Into any agreement to act as an i ~ ~ f o mor
                                                                                   ~ car special agent of a law enforcement agency \\-ithout the
          pemiission of the court:

13)       as directed by the probation officer. the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permil the probation officer to makc such notifications and to confirm the
          defendant's compliance with such notification rcquirernent.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:        CIHRIS MUSZYNSKI                                                          Judgrncnt - Page 4 of 6
                                                                                                                  --
Case KO.:         8 : W r - 2 19-T-23hfAP
                                        SPECIAL CONDITIONS OF SIJI'ERVISION

         The defcnda~itshall also comply with ~Ilcfollowiog additional condirions of supervised release:


x
-        The defendant shall be prohibited from incurring new credit chargcs, opening additional lines of credit, acquisitions or
         obligating himself for any major purchases without approval of the probation officer.

x
-        The defendant shall provide the probation officer access to any requested financial information.
         Case 8:04-cr-00219-SDM-MAP Document 138 Filed 02/28/06 Page 5 of 6 PageID 355
A 0 2433 (Rev 12/03) Sheet 5 - Crirnirwl hlonrtary Penalties

Defendant:         ClIRIS hlUSZYNSKI                                                        Judgment - Page 5 of 6
Case No.:          8:01-cr-119-T-23hlAP

                                            CFURil INAL IVIONETARY PENALTIES

         The defendant nnust pay the total criminal monetary penalties under the schedule of paymcnts or1 Slieet 6.
                            Asscssmcnt                           -
                                                                 Finc                       Tot;il Kcst itution

         -
         Totals:                                                 $ waived



-        The determination of restitution is deferred until -.            An Am~enrledJltdg~nenrill a Cri~~~inal
                                                                                                             Cctse ( A 0 235C) will
         be entered after such determination.
-         The defendant must ~nakerestitution (including community restitution) to the follo\ving payees in rhc annount listed
          belo~v.
          If dlr dcfendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentage pa rment column below. Ho\vcver. pursuant to 18 U.S.C. 8
          3664(i). all non-federal victims nlust be paid before the dnited Stares.
                                                                                                               I'riority Order or
                                                  *Total                     Amount of                         Percentage of
S a m e of Puvee                                Amount of Loss            Restitution Ortlcrcd                 Pavmcnt




                             Totals:           L-                         $


 -         Restitution amount ordered pursuant to plea agreement      S
 -         The defendant shall pay interest on any fine or restitution of more lhan $2,500, unless the restitution or fine is paid in h l l
           before the fifteenth day after the date of the judgment.pursuant to 18 U.S.C. Q 3612(1). All of the payment options on Sheer
           6 may be subjecr to penalties for delinquency and default, pursuant lo 18 U.S.C. 3612(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          -        the interest requirement is waived for the - fine          - restitution.
          -        the interest requirement for the - fine - restitution is modilied as follows:


" Findings for d ~ etotal amount of losses are required under Cha ters 109A, 110, 110A, and 113A of Title 18 for the ofknscs
commiucd on or after September 13. 1994. but bcforc April 23. 1896.
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                             -
A 0 2453 (Rev 12/03) Sheet 6 Schedule of Payments

Dtfcndant:        CIIRIS hlUSZYNSKI                                                          Judgment - Page 6of 6
Casc No.:         8:M-cr-219-T-23MAP




Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X        Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                     , or

                            - in accordance - C, - D, - E or - F below: or
13.      -        Pay~nentto begin immediately (may be combined with -C. - D, or -F below); or
C.       -        Payment in equal                 (e.g., weekly. monthly, quarterly) installments of S             over a
                  period of          (e.g., months or years). to comlnence             days (e.g.. 30 or 60 days) after h e
                  date of this judgment: or
D.       -        Payment in equal                 (e!,. \breeMy, monthly, quarterly) installnlents of $              over a
                  period of             , (e.g., nlonr s or years) to commence                     (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supenrision: or
E.       -         Payment during the term of supervised release will commence within                          (e.g.. 3 0 or
                   60 days) after release from i~nprisonrnent.The court will set the paymenr plan based on an assessment of
                   the defendant's ability to pay at that time. or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this judgment in~posesa period of                                        of criminal
lnonetarv perialcies is due during im risonmenr. All criminal monetary penalties,                                       made through the
                                         5
Federal Bureau of Prisons' Inmate inancial Responsibility Program. are made
The defendant shall receive credit for all paynlents previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-                  The defendant shall forfeit the defendant's interest in the following property to tile United States:


Payments shall be applied in the following order: (1) assessrncnt, (2) restitution principal, (3) restitution interest, ( 3 ) tine principr~l,
( 5 ) community restitution, (6) line interest (7) penalties, and (8) costs, i~lcludingcost of prosecution and court costs.
